                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )       3:13-CR-12
v.                                            )
                                              )       (JORDAN / GUYTON)
JOSEPH MANNING,                               )
                                              )
               Defendant.                     )

                            REPORT AND RECOMMENDATION

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.§

636(b) for disposition or report and recommendation regarding disposition by the District Court as

may be appropriate. This case is before the Court on Defendant Joseph Manning’s Motion to

Suppress Statement [Doc. 70] and Motion to Suppress Evidence [Doc. 72], both filed on May 3,

2013. The parties appeared for a hearing on the motion on May 30, 2013. Assistant United States

Attorney Cynthia F. Davidson appeared on behalf of the Government. Attorney Mark E. Brown

represented the Defendant, who was also present. At the conclusion of the hearing, the Court

permitted the parties to file supplemental briefs, if they chose to do so. The Defendant filed a

supplemental brief [Doc. 102] on June 14, 2013. The transcript [Doc. 111] of the evidentiary

hearing was filed on June 26, 2013. At that time, the Court took the motions under advisement.



                              I. POSITIONS OF THE PARTIES

       Defendant Manning is charged [Doc. 3] with conspiring to distribute and possess with intent

to distribute marijuana from March 27, 2012, to February 5, 2013. First, the Defendant asks the


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     Case 3:13-cr-00012-RLJ-JEM          Document 124         Filed 07/16/13      Page 1 of 34
                                         PageID #: 440
Court to suppress evidence gained in the search of three packages on November 23, 2012; December

6, 2012; and January 9, 2013, pursuant to search warrants. The Defendant argues that probable cause

did not exist to issue the search warrants and that two of the search warrants contain errors rendering

them facially defective. The Defendant also challenges the execution of the December 6 search

warrant, arguing that the officer exceeded the scope of the search warrant in seizing marijuana from

the package. Second, the Defendant asks the Court to suppress his statement given at the time of his

arrest on February 11, 2013, because it was made in violation of his Fifth Amendment right not to

incriminate himself and his Sixth Amendment right to counsel.

       The Government responds that the search warrants were supported by probable cause and

are not facially defective. It contends that any errors in the applications for the search warrants do

not render the warrants defective or cause the Defendant any prejudice. It maintains that Inspector

Boles properly seized marijuana from a package on December 6, 2012, pursuant to the plain view

doctrine. Finally, it argues that the executing officers acted in good faith reliance on the search

warrants and that the exclusionary rule should not be applied in this case. The Government also

argues that the totality of the circumstances reveal that the Defendant voluntarily gave a statement

on February 11, 2013, during the course of a lawful arrest.



                            II. SUMMARY OF THE TESTIMONY

       At the May 30 hearing, the Government called two witnesses, Knoxville Police Department

(KPD) Investigator Jeremy Maupin and Postal Inspector Wendy Boles.

       Investigator Maupin testified that he works on the KPD’s Organized Crime Unit and is a task

force officer for the Drug Enforcement Administration (DEA). Investigator Maupin stated that in


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    Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13       Page 2 of 34
                                          PageID #: 441
the summer of 2012, Postal Inspector Wendy Boles notified him that she was investigating a group

that was mailing controlled substances from San Francisco, California, and Seattle, Washington, to

Knoxville, Tennessee. He joined in this investigation, which resulted in an Indictment naming the

Defendant Joseph Manning. On February 11, 2013, Investigator Maupin arrested the Defendant at

the United States Probation Office in Tacoma, Washington. The Defendant had reported to the

Probation Office to submit to drug testing. Immediately after the Defendant completed the drug test,

Investigator Maupin led him to another room, handcuffed him, and placed him under arrest.

       Investigator Maupin testified that after he handcuffed the Defendant, he identified himself,

explained the nature of the charges to the Defendant, and advised him of the Miranda rights. The

Defendant said he understood those rights. Investigator Maupin told the Defendant “if he wanted

to cooperate, I would allow him to do so. We could sit down and talk about it.” [Tr. 7]1 United

States marshals then arrived to process the Defendant for his initial appearance. Investigator Maupin

accompanied the marshals and continued to answer the Defendant’s questions while he was

fingerprinted and photographed. Investigator Maupin stated that the Defendant then told him that

“he wanted to ‘talk[.]’” [Tr. 8]

       Investigator Maupin stated that the Defendant was taken to an interview room, where he sat

across from Investigator Maupin and Inspector Boles and was separated from them by a screened

window. Investigator Maupin again advised the Defendant of his rights by reading from a DEA

form. A blank Advice of Rights form identical to the one Investigator Maupin used was submitted

as an exhibit [Exh. 1]. Investigator Maupin said that he usually asked the individual to initial after

each sentence on the form and to sign it, but he did not do that in this case, because a metal screen


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           The transcript [Doc. 111] of the May 30 hearing was filed on June 26, 2013.

                                                  3


    Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13      Page 3 of 34
                                          PageID #: 442
separated him from the Defendant. Investigator Maupin stated that the Defendant agreed he

understood his rights and began to give a statement. Investigator Maupin interviewed the Defendant

for fifteen to twenty minutes. At that point, an attorney, who was to be appointed to represent the

Defendant at his initial appearance, came into the interview room. Investigator Maupin told the

attorney to contact him, if the Defendant wanted to continue cooperating. Then, Investigator Maupin

and Inspector Boles left. Investigator Maupin said that the Defendant did not request an attorney at

any time during the interview.

        On cross-examination, Investigator Maupin testified that he first encountered the Defendant

when the Defendant emerged from the bathroom after giving a urine sample. When Investigator

Maupin arrested the Defendant, he did not have an advice of rights form on his person, but Inspector

Boles had one in another room, where she was with the Defendant’s brother. Investigator Maupin

agreed that he could have gone to Inspector Boles and retrieved the form. He said that he normally

advises an individual whom he has arrested of his rights orally and asks the individual to sign a rights

waiver only if the person agrees to be interviewed. Investigator Maupin stated that it is his practice

to ask the individual to sign the rights waiver after the person sits down to give a statement.

Investigator Maupin said that in this case, he did not have the Defendant sign the rights waiver when

he interviewed him because of the screen. Investigator Maupin agreed that he could have asked the

marshal to take the form to the Defendant.

        Investigator Maupin testified that within minutes of the Defendant’s arrest, marshals arrived

to take him to the United States Marshal’s Office, which was on the other side of the building from

the Probation Office. Investigator Maupin stated that as part of the advice of rights, he advised the

Defendant that if he wanted an attorney, Maupin could not continue the interview.


                                                   4


    Case 3:13-cr-00012-RLJ-JEM             Document 124         Filed 07/16/13      Page 4 of 34
                                           PageID #: 443
       Postal Inspector Wendy Boles testified that she has served as a postal inspector, investigating

crimes involving the United States mail, for ten years. She stated that in May of 2012, a postal

worker contacted her about what he or she believed were suspicious packages coming from San

Francisco, California, to various addresses in the delivery area of the Knoxville North Station Post

Office. Although the return addresses varied on these packages, the packages bore similar

handwriting. Also, the names of the recipients listed on the packages were not known by the mail

carriers to be persons receiving mail at the listed addresses. She stated that in the course of this

investigation, law enforcement obtained three search warrants for parcels.

       Inspector Boles stated that the first search warrant, number MJ 12-5206, was obtained on

November 23, 2012. Postal Inspector Brett Willyerd, who was assisting in the investigation in

Seattle, Washington, provided an affidavit in support of the search warrant. Inspector Boles said that

the information in the affidavit regarding an investigation in Knoxville, Tennessee, came from her.

The search warrant authorized the search of a parcel. Execution of the search warrant revealed that

the package contained a Lite-Brite toy, inside of which was concealed $7,810. In order not to

compromise the investigation, Inspector Willyerd left the currency inside the Lite-Brite, repackaged

the parcel, and had the package delivered to the Defendant.

       Inspector Boles testified that she provided the affidavit in support of the second search

warrant, number 3:12-MJ-1150, which was issued at 5:15 p.m., on December 6, 2012. She stated

that although the application for the search warrant bears a typed date of November 30, 2012, this

was not the day that she sought the search warrant. She said that she sought the search warrant on

December 6, 2012, and that the November 30, 2012, date was a typographical error. She stated that

another postal inspector in her office had applied for a search warrant on November 30, 2012. She


                                                  5


    Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13      Page 5 of 34
                                          PageID #: 444
believed his application was used as a template when the instant application was prepared, but the

date was not changed.

       Also, with regard to the December 6 search warrant, Inspector Boles stated that in the

affidavit supporting the search warrant, she provided information that the Express Mail package,

which she wanted to search, could contain controlled substances and currency. Inspector Boles

stated that she wanted to search the package for both drugs and currency, because her past experience

with parcels involved in narcotics trafficking caused her to believe that the package could contain

both. She said that before she applied for the search warrant, a trained drug dog alerted on the

package. The search warrant for the package authorized her to seize United States currency,

documents, notes, invoices, orders, and records of payments relating to drug trafficking. She stated

that she intended to ask to seize controlled substances as well and that the omission of controlled

substances from this list of items to be seized was a “typographical error.” [Tr. 30] Inspector Boles

searched the package immediately after obtaining the search warrant, and it contained 9.8 pounds

of marijuana. Inspector Boles stated that she immediately recognized the illegal nature of the

contents of the package.

       Inspector Boles testified that she also sought a search warrant for a package on January 9,

2013. This search warrant, number 3:13-MJ-1002, was issued at 3:08 p.m., on January 9, 2013, but

the line for the length of time within which the search warrant must be executed was left blank.

Inspector Boles stated that in her experience, the magistrate judge typically filled in that blank. She

stated that she executed the January 9 search warrant later that same day and seized $18,000.

       Inspector Boles stated that she was present when the Defendant was arrested. She stated that

she and Investigator Maupin first arrested the Defendant’s brother Julian Manning. She then sat with


                                                  6


    Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13       Page 6 of 34
                                          PageID #: 445
Julian Manning in a separate room, while Investigator Maupin waited on the Defendant to arrive.

Inspector Boles said she first saw the Defendant in the interview room at the marshal’s office, after

he had been arrested. She was present when Investigator Maupin read the Defendant his rights and

heard the Defendant acknowledge those rights. The Defendant could not sign a rights waiver form

due to the large screen in the room. She stated that although Investigator Maupin held the form up

to the screen, she did not think the Defendant could see it because it was hard to see through the

screen. Nevertheless, she stated that she had no doubt that the Defendant heard the advice of rights

given by Investigator Maupin.

        On cross-examination, Inspector Boles stated that during her investigation of packages

mailed from California and Washington to Knoxville, she contacted the postal inspector in San

Francisco. She stated that the packages from San Francisco to Knoxville were mailed from the same

post office, so the postal inspector there conducted video surveillance of the mailings. Although the

investigation began in May 2012, she did not seek a search warrant for a package until December

2012. Inspector Boles stated that the United States Attorney’s Office prepares the typewritten

portions of the search warrant for the agents, but the information on the warrant comes from the

agent. It is the agent’s responsibility to type the affidavit supporting the search warrant and to review

the information in the search warrant for accuracy.

        Inspector Boles testified that Inspector Willyerd obtained the November 23, 2012 search

warrant (number MJ 12-5206). She stated that she had referred the package in question to Inspector

Willyerd.

        With regard to the December 6 search warrant (3:12-MJ-1150), Inspector Boles agreed that

the application for the search warrant is dated November 30, 2012, and asks to seize controlled


                                                   7


    Case 3:13-cr-00012-RLJ-JEM             Document 124         Filed 07/16/13       Page 7 of 34
                                           PageID #: 446
substances. She acknowledged that the search warrant is dated December 6, 2012, and does not

mention controlled substances as an item to be seized. She stated that the supporting affidavit

provides the following reasons why a particular Express Mail parcel would stand out from other

business packages: (1) The package lacks advertizing on the mailing container, (2) it is mailed from

one individual to another, (3) it is mailed from a post office in a different zip code from the zip code

on the return address, (4) its seams are heavily taped in order to conceal scent, and (5) the recipient’s

signature is waived. Inspector Boles testified that the package that she sought to search in the

December 6 search warrant was not a business mailing but rather was sent from one individual to

another. She agreed that it would not be unusual for an individual out running errands to mail a

parcel at a post office in a different zip code from that in which the person lived. She also agreed

that it was not uncommon for someone to apply a lot of tape to a box to be mailed. Inspector Boles

was also familiar with instances in which an individual mailing an Express Mail package to another

individual waived the signature of the recipient.

        Inspector Boles stated that before seeing the December 6 search warrant, she observed a drug

dog give a positive alert on the package. She stated that she placed the suspect package in a hallway

with other cardboard boxes that resembled packages but were not actual mail. She left space

between the packages to permit the dog to maneuver around them. She acknowledged that a

photograph of the drug dog sitting beside the suspect package did not include the other boxes. She

stated that the other boxes were behind and further down the hallway from the dog’s location in the

photograph. Inspector Boles stated that she does not make a video recording when a drug dog

inspects a package and that this was the first time she had photographed a drug dog in conjunction

with a search warrant application.


                                                    8


    Case 3:13-cr-00012-RLJ-JEM             Document 124         Filed 07/16/13       Page 8 of 34
                                           PageID #: 447
       Inspector Boles testified that the January 9 search warrant was for a package addressed to

Dwayne Benson at 7830 Custer Road, Lakewood, Washington. She did not know whether the

Defendant ever used Dwayne Benson as an alias or ever lived at that address. She stated that the

affidavit supporting this search warrant identified two other suspicious Express Mail packages

mailed from Washington to Knoxville and addressed to two separate addresses. Search warrants

were not sought for these packages. She participated in surveillance of 1605 Tecumseh Drive when

one of these packages was delivered. She observed Lamar Johnson arrive at this residence and take

custody of the package, after it was delivered. She followed Johnson and observed him making

“heat runs,” which is evasive driving designed to detect whether law enforcement is following. She

then lost sight of Johnson, who was later observed by another officer at a residence.

       Inspector Boles stated that following the Defendant’s arrest in the probation office in

Tacoma, Washington, she was present in the room with Investigator Maupin and the Defendant, who

was behind a barrier. The rights waiver form was shown to the Defendant but was not given to him

to sign, because they had no way to give it to him. She agreed that they could have given the form

to the marshal, who could have gone to the other side of the barrier and given it to the Defendant.



                                   III. FINDINGS OF FACT

       Based upon the testimony at the evidentiary hearing, the Court makes the following factual

findings:

       In May 2012, law enforcement in Knoxville, Tennesee; San Francisco, California; and later

Seattle, Washington began investigating Express Mail packages mailed between those locations.

A search warrant was issued in Tacoma, Washington, on November 23, 2012, for a package


                                                 9


   Case 3:13-cr-00012-RLJ-JEM            Document 124        Filed 07/16/13      Page 9 of 34
                                         PageID #: 448
suspected in this investigation. A search of that package revealed a Lite-Brite toy, which contained

$7,810. Postal Inspector Brett Willyerd repackaged the parcel and had it delivered. Search warrants

were issued in Knoxville on December 6, 2012, and January 9, 2013. Postal Inspector Wendy Boles

executed these search warrants. Inspector Boles found 9.8 pounds of marijuana in the package

searched on December 6 and $18,000 in the package searched on January 9. As a result of this

investigation, a grand jury returned an Indictment, charging the Defendant, on February 5, 2013.

       On February 11, 2013, KPD Investigator Jeremy Maupin and Inspector Boles arrested the

Defendant and his brother at the United States Probation Office in Tacoma, Washington.

Investigator Maupin identified himself, handcuffed the Defendant, explained the charges, and

advised the Defendant of his Miranda rights. The Defendant was taken to the United States

Marshal’s Office in another part of the building for processing. While there, the Defendant asked

Investigator Maupin questions about the charges and then told Investigator Maupin that he wanted

to talk. Marshals placed the Defendant in an interview room with Investigator Maupin and Inspector

Boles. The Defendant was separated from the officers by a metal screen that divided the interview

room. Investigator Maupin again advised the Defendant of the Miranda warnings, including his right

to speak with an attorney before questioning. Investigator Maupin read the advice of rights from a

rights waiver form. He did not have the Defendant sign the form. The officers interviewed the

Defendant for fifteen to twenty minutes. The interview ended when an attorney, who had been

contacted by the court to represent the Defendant at his initial appearance in the Western District of

Washington, arrived at the interview room to meet with the Defendant. Investigator Maupin gave

the attorney his contact information in the event that the Defendant wanted to give another statement.




                                                 10


   Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13      Page 10 of 34
                                          PageID #: 449
                                          IV. ANALYSIS

               The Fourth Amendment protects the right to be free from unreasonable searches and

seizures. In this respect, a judge shall not issue a warrant for the search of a person, home, or

personal property except upon a finding of “probable cause, supported by oath or affirmation, and

particularly describing the place to be searched, and the persons or things to be seized.” U.S. Const.

amend. IV. In the instant case, the Defendant asks the Court to suppress evidence seized in the

execution of search warrants for three Express Mail packages. He argues that probable cause did

not exist to issue the search warrants and that errors on the face of the search warrants and warrant

applications rendered them defective. The Defendant also asks the Court to suppress the statement

he gave following his arrest on February 11, 2013. The Defendant contends that this statement was

made in violation of his Fifth Amendment protection against self-incrimination and his Sixth

Amendment right to counsel. The Court examines each of these contentions in turn.



                              A. Search of Express Mail Packages

       The Defendant challenges the issuance of three search warrants for packages. A search

warrant may issue upon the judge finding probable cause to believe that the location to be searched

contains contraband or the evidence of a crime. United States v. Besase, 521 F.2d 1306, 1307 (6th

Cir. 1975). Probable cause to search is “a fair probability that contraband or evidence of a crime will

be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983). To make such a

showing “requires only a probability or substantial chance of criminal activity, not an actual

showing of such activity.” Id. at 244 n.13. Thus, the Supreme Court has observed that

               probable cause is a flexible, common-sense standard. It merely


                                                  11


   Case 3:13-cr-00012-RLJ-JEM             Document 124        Filed 07/16/13       Page 11 of 34
                                           PageID #: 450
                requires that the facts available to the officer would “warrant a man
                of reasonable caution in the belief,” Carroll v. United States, 267 U.S.
                132, 162, . . . (1925), that certain items may be contraband or stolen
                property or useful as evidence of a crime; it does not demand any
                showing that such a belief be correct or more likely true than false.
                A “practical, nontechnical” probability that incriminating evidence is
                involved is all that is required. Brinegar v. United States, 338 U.S.
                160, 176, . . . (1949).

Texas v. Brown, 460 U.S. 730, 742 (1983). In other words, probable cause is “reasonable grounds

for belief supported by less than prima facie proof but more than mere suspicion.” United States v.

Bennett, 905 F.2d 931, 934 (6th Cir. 1990). Whether probable cause to issue a search warrant exists

is evaluated by looking at the totality of the circumstances. Gates, 462 U.S. at 238.

        The issuing judge’s determination that probable cause exists is entitled to “‘great deference.’”

United States v. Allen, 211 F.3d 970, 973 (6th Cir. 2000) (quoting Gates, 462 U.S. at 236). This

deferential standard promotes the preference for the use of search warrants as opposed to warrantless

searches. Id. “The task of the issuing magistrate is simply to make a practical, common-sense

decision whether, given all the circumstances set forth in the affidavit before him, . . . there is a fair

probability that contraband or evidence of a crime will be found in a particular place.” Gates, 462

U.S. at 238. The “duty of a reviewing court is simply to ensure that the magistrate had a substantial

basis for concluding that probable cause existed.” Id. at 238-39. In making this determination, the

Court considers only the information that was before the issuing judge–in other words, only what

is contained within the four corners of the supporting affidavit. United States v. Hatcher, 473 F.2d

321, 323 (6th Cir. 1973).

        The Defendant argues that probable cause did not exist to issue any of the three warrants.

He also argues that the December 6 and January 9 search warrants are facially defective and that the



                                                   12


   Case 3:13-cr-00012-RLJ-JEM              Document 124         Filed 07/16/13       Page 12 of 34
                                            PageID #: 451
December 6 search warrant was improperly executed.



(1) November 23, 2012 Search Warrant, MJ 12-5206

               The Defendant contends that the affidavit of Inspector Willyerd supporting the

November 23 search warrant does not provide probable cause to believe that the Express Mail

package addressed to Joseph Williams in Spanaway, Washington, would contain evidence of drug

trafficking. He argues that Inspector Willyerd’s affidavit reveals only that the package bears a

handwritten address for a person not known to receive mail there, an incorrect house number, and

was the subject of a drug detection dog alert, although it contained no narcotics. He contends that

this scant and primarily innocent information fails to provide probable cause.

       The Court finds that Inspector Willyerd’s affidavit contains the following information

relevant to the probable cause analysis:

               (1) Based upon his training and experience, Agent Willyerd knows
               drug dealers prefer to use Express Mail because it is reliable. [Doc.
               91, Exh. 1, ¶4] Express Mail packages transporting controlled
               substances and the proceeds from controlled substances frequently
               have the following characteristics making them distinct from typical
               business packages: (a) handwritten labels; (b) the label does not
               indicate that the person paid by credit card or business account, which
               would be traceable; (c) no advertizing on the box and mailed from
               one individual to another; (d) the addresses are often fictitious or to
               persons not known to receive mail at the stated address; (e) the zip
               code of the sender is different from the zip code of the post office at
               which the package was mailed, (f) the seams are heavily taped in
               order to conceal scent; (g) the sender has waived a confirmation
               signature by the recipient. [Doc. 91, Exh. 1, ¶6] Packages meeting
               some of these criteria are often further scrutinized. [Doc. 91, Exh. 1,
               ¶7]

               (2) Inspector Wendy Boles notified the affiant about the suspect
               Express Mail package with a handwritten label, being mailed from


                                                 13


   Case 3:13-cr-00012-RLJ-JEM              Document 124      Filed 07/16/13       Page 13 of 34
                                            PageID #: 452
                Knoxville to Spanaway, Washington. [Doc. 91, Exh. 1, ¶10]

                (3) The return address on the suspect package is incomplete, omitting
                the word “South,” and the sender “Jessica Smith” is not known to
                receive mail at this address. [Doc. 91, Exh. 1, ¶10]

                (4) A trained narcotics detection dog alerted on the suspect package,
                which was hidden in a cabinet in an office. [Doc. 91, Exh. 1, ¶11]
                An exhibit [Doc. 91, Exh. 1, pp.18-20] attached to Inspector
                Willyerd’s affidavit and incorporated therein provides the training
                and certification of the drug detection dog Caro and his handler, Task
                Force Officer Cory Stairs.2

        The Court finds that the totality of the circumstances provided in the affidavit gives probable

cause to issue the November 23 search warrant. Based upon Inspector Willyerd’s training and

experience, the suspect package has several characteristics consistent with a package containing

controlled substances or drug proceeds: It is an Express Mail package with a handwritten address,

being mailed from one individual to another. The return address is incomplete, and the sender is not

known to receive mail there. The Defendant argues that these are all innocent characteristics that

are alone insufficient to provide probable cause. However, the affidavit also states that a trained

drug detection dog alerted on the package. The affidavit of Task Force Officer Cory Stairs, the dog’s

handler, states that the drug dog in this case is certified to alert to the odor of narcotics, including

when the odor of narcotics has been absorbed into currency. “An alert by a properly trained and

reliable drug-detection dog ‘is sufficient to establish probable cause for the presence of a controlled

substance.’” United States v. Stubblefield, 682 F.3d 502, 505 (6th Cir. 2012) (quoting United States

v. Diaz, 25 F.3d 392, 394 (6th Cir.1994)). Moreover, “[i]f a bona fide organization has certified a


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         Officer Stairs’ affidavit states that he and Caro were certified on November 14, 2012, by
the Washington State Police Canine Association and continue to train regularly to maintain
proficiency. Officer Stairs’ affidavit states that Caro has a ninety-two percent accuracy rate in
the field.

                                                  14


   Case 3:13-cr-00012-RLJ-JEM             Document 124         Filed 07/16/13       Page 14 of 34
                                           PageID #: 453
dog after testing his reliability in a controlled setting, a court can presume (subject to any conflicting

evidence offered) that the dog’s alert provides probable cause to search.” Florida v. Harris, 133 S.

Ct. 1050, 1057 (2013).

        The Defendant argues that the drug dog alert does not provide probable cause because no

narcotics were found in the package. The Court observes first that it can only consider the

information that was before the issuing judge in assessing probable cause. Hatcher, 473 F.2d at 323.

The fact that the package ultimately did not contain narcotics is not relevant to the instant analysis.

Second, Inspector Willyerd’s affidavit along with the attached affidavit by Officer Stairs establishes

that the dog would alert to items, such as currency, that have absorbed the odor of narcotics. The

Court finds that the suspicious characteristics of the package combined with the alert by the drug

detection dog provide probable cause to search the package for drugs and currency.



(2) December 6, 2012 Search Warrant, 3:12-MJ-1150

        The Defendant argues that the December 6 search warrant is both facially defective and

unsupported by probable cause. He also argues that the December 6 search warrant was improperly

executed because Inspector Boles seized marijuana from the package, but the search warrant does

not authorize the seizure of controlled substances.



                                            (i) Facial Defect

        The Defendant contends that the search warrant is defective on its face, because it lacks the

particularity required by the Fourth Amendment. The search warrant identifies the property to be

seized from the package as “United States currency, documents, notes, invoices, orders, and records


                                                   15


   Case 3:13-cr-00012-RLJ-JEM              Document 124         Filed 07/16/13       Page 15 of 34
                                            PageID #: 454
of payments related to illegal drug trafficking.” [Doc. 91, Exh. 2, p.1] In contrast, the Application

for Search Warrant [Doc. 91, Exh. 2, p.2] also asks to seize controlled substances. In her supporting

affidavit, Inspector Boles [Doc. 91, Exh. 2, ¶25] states that she believes probable cause exists to

search for controlled substances as well as currency, documents, or other evidence relating to the

mailing and distribution of controlled substances. The Defendant argues that based upon the alert

by the drug detection dog, which was detailed in the affidavit, the search warrant should have

authorized the seizure of controlled substances. He contends that the failure to include controlled

substances in the list of items to be seized renders the search warrant insufficiently particular.

       The Fourth Amendment requires that search warrants “particularly describ[e] the place to be

searched and the persons or things to be seized.” U.S. Const. amend. IV.            The particularity

requirement forecloses the opportunity for a general search and “prevents the seizure of one thing

under a warrant describing another” by restricting the discretion of the executing officer. Marron

v. U.S., 275 U.S. 192, 196 (1927). “‘A general order to explore and rummage through a person’s

belongings is not permitted. The warrant must enable the searcher to reasonably ascertain and

identify the things which are authorized to be seized.’” United States v. Savoy, 280 F. App’x 504,

510 (6th Cir.) (quoting United States v. Cook, 657 F.2d 730, 733 (5th Cir. 1981)), cert. denied, 129

S. Ct. 742 (2008). “The particularity requirement eliminates the ‘danger of unlimited discretion in

the executing officer’s determination of what is subject to seizure.’” Id. (quoting United States v.

Savoca, 761 F.2d 292, 298-99 (6th Cir. 1985)). “[T]he degree of specificity required is flexible and

will vary depending on the crime involved and the types of items sought.” United States v. Henson,

848 F.2d 1374, 1383 (6th Cir. 1988). The description of items to be seized pursuant to a search

warrant is sufficient “‘if it is as specific as the circumstances and the nature of the activity under


                                                 16


   Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13      Page 16 of 34
                                          PageID #: 455
investigation permit.’” Id. (quoting United States v. Blum, 753 F.2d 999, 1001 (11th Cir. 1985)).

       The December 6 search warrant provides a specific list of items that can be seized from the

package. Thus, Inspector Boles was able to identify the things which she was authorized to seize

from the package. The fact that the affidavit provides probable cause to search for additional items

does not make the search warrant insufficiently particular.3 The Court finds that the December 6

search warrant is not facially defective.



                                       (ii) Probable Cause

       The Defendant argues that Inspector Boles’ affidavit fails to provide probable cause to issue

the December 6 search warrant because the presentation of the package to the drug dog was unduly

suggestive. He also contends that the affidavit contains false information as to the date that the

suspect package was mailed and received at the Knoxville post office.

       Inspector Boles’ affidavit states that a trained drug detection dog alerted on the suspect

package. [Doc. 91, Exh. 2, ¶23] Inspector Boles describes the circumstances of the dog sniff as

follows:

               As per protocol, I placed the subject parcel among other boxes of
               similar size and shape at the U.S. Postal Inspection Service,
               Knoxville Domicile. Officer Marrero[, the dog’s handler,] informed
               your affiant that “Mako” gave a positive alert to the presence of drug
               odor from the subject parcel with a final passive response of sitting
               down at the subject parcel (captured by photograph and attached
               herewith as EXHIBIT A).



       3
        The Court will address the Defendant’s argument that the search warrant was improperly
executed because it did not authorize Inspector Boles’ seizure of marijuana in part (iii) below.
The improper execution of a search warrant does not make the search warrant itself facially
defective.

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   Case 3:13-cr-00012-RLJ-JEM               Document 124     Filed 07/16/13      Page 17 of 34
                                             PageID #: 456
[Doc. 91, Exh. 2, ¶23] The Defendant argues that the attached photograph4 depicts the dog sitting

beside a single package with no other packages in the picture. He concludes that because a single

package is depicted in the photograph, the circumstances surrounding the dog sniff are suspicious

and the dog’s alert on the package does not provide probable cause.4 The Court disagrees. As stated

above, the positive alert of a trained drug detection dog provides probable cause to search a container

for controlled substances. See Stubblefield, 682 F.3d at 505. The affidavit states that the dog

positively alerted on the suspect package. The attached photograph does not purport to show the full

search, but merely the dog’s alert on the suspect package. The Court finds that the photograph does

not contradict or detract from the affidavit’s assertion that the dog alerted on the suspect package.

       The Defendant also argues that the dates regarding when the suspect package was mailed and

received at the Knoxville post office are false and may not be considered in the probable cause

analysis. He argues that if this information is not considered, the affidavit fails to provide probable

cause. The affidavit states that the following events occurred on December 5-6, 2012:

               (1) On December 5, 2012, the Defendant told a confidential source


       4
        The Court notes that Exhibit A, the photograph of the drug detection dog sitting beside
the package, was not included in the exhibit [Doc. 92, Exh. 2] provided to the Court.
       4
         In his supplemental brief, the Defendant also argues that Inspector Boles testified that a
second box was located behind the dog in the photograph. He argues that this testimony reveals
that the drug dog only had two boxes to choose between and the circumstances of the dog sniff
remain suspicious. First, the Court again observes that it may only look at the information
contained in the affidavit and not to Inspector Boles testimony about the circumstances of the
dog sniff. Hatcher, 473 F.2d at 323. Second, if the Court were able to consider Inspector Boles’
testimony, it supports her statement in the affidavit that she placed multiple packages with the
suspect package for the dog to sniff. At the May 30 hearing, Inspector Boles testified that she
placed the suspect package and “other cardboard boxes that resembled packages” in the hallway
for the dog to sniff. [Tr. 40] In response to defense counsel’s inquiry about the photograph of the
dog with a single package, Inspector Boles testified that the other packages were behind the dog.
[Tr. 40]

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   Case 3:13-cr-00012-RLJ-JEM             Document 124        Filed 07/16/13       Page 18 of 34
                                           PageID #: 457
                 that he would send a package containing marijuana to an address
                 controlled by the confidential source and that the confidential source
                 should expect the package the next day. [Doc. 91, Exh. 2, ¶19]

                 (2) Inspector Boles reviewed a postal service database on December
                 5, 2012, and learned that two Express Mail packages were en route to
                 Knoxville from Spanaway, Washington 98387. [Doc. 91, Exh. 2,
                 ¶19] These packages were scheduled to be delivered on December 6,
                 2012. [Doc. 91, Exh. 2, ¶20]

                 (3) On December 6, 2012, Inspector Boles took custody of an
                 Express Mail package, sent from Washington zipcode 98387 and
                 bearing similar handwriting as other packages involved in this
                 investigation. [Doc. 91, Exh. 2, ¶21-22]

                 (4) Also, on December 6, the drug detection dog alerted to this
                 package. [Doc. 91, Exh. 2, ¶23]

The Defendant contends that the December 5 and 6 dates are false because the Application for a

Search Warrant [Doc. 91, Exh. 2, p.2] is dated November 30, 2012. He argues that because

Inspector Boles applied for the search warrant on November 30, the package could not have been

mailed on December 5 and received in Knoxville on December 6.

       In Franks v. Delaware, 438 U.S. 154, 155, 164 (1978), the Supreme Court examined whether

a defendant ever has the right, pursuant to the Fourth and Fourteenth Amendments, to contest the

truthfulness of sworn statements of fact in a search warrant affidavit. Sworn affidavits in support

of search warrants are, in the first instance, presumed to be valid. Id. at 171. Nevertheless, a

defendant may attack the veracity of factual statements in the affidavit under certain limited

circumstances:

                 [W]here the defendant makes a substantial preliminary showing that
                 a false statement knowingly and intentionally, or with reckless
                 disregard for the truth, was included by the affiant in the warrant
                 affidavit, and if the allegedly false statement is necessary to the
                 finding of probable cause, the Fourth Amendment requires that a


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   Case 3:13-cr-00012-RLJ-JEM             Document 124         Filed 07/16/13      Page 19 of 34
                                           PageID #: 458
               hearing be held at the defendant’s request.

Id. at 155-56; see also United States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990). If the defendant

makes this showing and is granted what has come to be known as a “Franks hearing,” he or she must

show by a preponderance of the evidence that the affiant intentionally or recklessly included false

statements, which are necessary to the probable cause finding, in the affidavit. Franks, 438 U.S. at

156; Bennett, 905 F.2d at 934. If the defendant successfully makes this showing, the evidence

gained as a result of the search must be suppressed. Franks, 438 U.S. at 156; Bennett, 905 F.2d at

934.

       The Court finds that the Defendant has failed to make a substantial preliminary showing that

Inspector Boles intentionally, knowingly, or recklessly included false dates in the affidavit. The

search warrant was issued at 5:15 p.m., on December 6, 2012, which supports the information in the

affidavit that the package was mailed on December 5 and received on December 6. Additionally,

although the Defendant was not entitled to a hearing to challenge Inspector Boles’ statements in the

affidavit, she explained the discrepancy in the dates at the May 30 hearing. Inspector Boles testified

that the November 30, 2012 date on the application is a “typographical error.” [Tr. 26] She stated

that a previous application was likely used as a template for the instant application and that the date

from the previous application was not changed. [Tr. 26] She said that she applied for the search

warrant on December 6, 2012, not November 30, 2012. [Tr. 26] Based upon this uncontradicted

testimony, the Court finds that the erroneous date is in the application, not in Inspector Boles’

affidavit or the search warrant. The application was not incorporated into the search warrant.

Accordingly, the Court agrees with the Government that the Defendant has not been prejudiced by

the typographical error in the application.


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   Case 3:13-cr-00012-RLJ-JEM             Document 124        Filed 07/16/13       Page 20 of 34
                                           PageID #: 459
       The Court finds that Inspector Boles’ affidavit provides probable cause for the issuance of

the December 6 search warrant. Inspector Boles states that certain characteristics of the suspect

Express Mail package are distinct from legitimate business mailings: It had handwritten addresses,

was mailed from one individual to another, bore a fictitious return address, and was mailed to a

person not known to receive mail at the listed address. [Doc. 91, Exh. 2, ¶¶5, 21 & 22 ]

       Inspector Boles details the history of the investigation into packages mailed between first San

Franciso, California and later Spanaway,Washington and Knoxville, Tennessee. Postal employees

noticed a high volume of Express Mail packages, bearing the same distinctive handwriting and

mailed from the same post office in San Francisco to multiple addresses in Knoxville. [Doc. 91,

Exh. 2, ¶9] The Defendant and his brother, who previously resided in Knoxville, both issued change

of address forms on August 21 and September 4, 2012, listing their new residences in Spanaway,

Washington. [Doc. 91, Exh. 2, ¶¶11, 12 &13] The Defendant was known by law enforcement from

previous narcotics investigations. [Doc. 91, Exh. 2, ¶10] On September 4, 2012, Express Mail

packages began arriving from Spanaway, Washington, for the addresses5 previously receiving

Express Mail packages from San Francisco. [Doc. 91, Exh. 2, ¶14] Surveillance of the Knoxville

addresses on the Express Mail packages revealed Lamar Johnson frequenting these addresses . [Doc.

91, Exh. 2, ¶15]



       5
         In his supplemental brief, the Defendant states that there was only one prior delivery to
1804 Iroquois Street, the address on the suspect package, during the course of the investigation.
He states that there were not multiple prior deliveries to the Iroquois address, and thus, the
affidavit does not provide probable cause. This information from the Defendant is not contained
in the affidavit and, thus, cannot be considered by the Court in its four corners analysis.
Additionally, the Court finds that this assertion by the Defendant does not contradict the
information in the affidavit that there were multiple consistent deliveries to different addresses in
the Knoxville North Station delivery area.

                                                 21


   Case 3:13-cr-00012-RLJ-JEM            Document 124        Filed 07/16/13       Page 21 of 34
                                          PageID #: 460
       A confidential source informed law enforcement that the Defendant was involved in shipping

marijuana to Knoxville. [Doc. 91, Exh. 2, ¶¶17 & 18] The controlled source, who previously made

two controlled purchases of marijuana from coconspirators at the Defendant’s direction, arranged

on December 5, 2012, for the Defendant to ship marijuana to him on December 6, 2012. [Doc. 91,

Exh. 2, ¶¶18 & 19] Inspector Boles intercepted one of two Express Mail packages from Spanaway

to Knoxville with a scheduled delivery of December 6 and bearing similar handwriting to the other

packages in the investigation. [Doc. 91, Exh. 2, ¶¶20-22] A trained drug detection dog alerted on

the suspect package. [Doc. 91, Exh. 2, ¶23] On December 6, 2012, the confidential source advised

that the Defendant had told him that the marijuana was not being sent directly to him but that

something was already en route and that the confidential source could get some when it arrived.

[Doc. 91, Exh. 2, ¶24] This information in the affidavit provides probable cause to believe that the

suspect Express Mail package contains controlled substances, drug proceeds, or other evidence of

drug trafficking.



                                (iii) Execution of Search Warrant

       Finally, the Defendant challenges the execution of the December 6 search warrant. He argues

that Inspector Boles seized marijuana from the package when the search warrant did not authorize

the seizure of controlled substances. As discussed above, the search warrant authorized Inspector

Boles to search for “United States currency, documents, notes, invoices, orders, and records of

payments related to illegal drug trafficking.” [Doc. 91, Exh. 2, p.1] The Government argues that

Inspector Boles properly seized the marijuana because it was in plain view once she opened the

package pursuant to the search warrant.


                                                22


   Case 3:13-cr-00012-RLJ-JEM             Document 124       Filed 07/16/13     Page 22 of 34
                                           PageID #: 461
       In order for evidence to fall within the plain view exception to the warrant requirement, the

evidence in question must be “(1) in plain view; (2) of a character that is immediately incriminating;

(3) viewed by an officer lawfully located in a place from where the object can be seen; and (4) seized

by an officer who has a lawful right of access to the object itself.” United States v. Roark, 36 F.3d

14, 18 (6th Cir. 1994) (citing Horton v. California, 496 U.S. 128, 136-37 (1990)); see also United

States v. Bishop, 338 F.3d 623, 626 (6th Cir. 2003), cert. denied, 540 U.S. 1206 (2004); United

States v. Bradshaw, 102 F.3d 204, 211 (6th Cir. 1996). In the present case, Inspector Boles lawfully

searched the package pursuant to the December 6 search warrant. Inspector Boles testified that that

the illegal nature of the marijuana inside the package was immediately apparent. The Defendant’s

objections to the seizure of the marijuana all relate to his contention that the search warrant was not

valid. The Court has concluded that the December 6 search warrant was valid and finds that

Inspector Boles properly seized the marijuana inside the package pursuant to the plain view doctrine.



(3) January 9, 2013 Search Warrant, 3:13-MJ-1002

       The Defendant argues that the January 9 search warrant is invalid because it is not supported

by probable cause and because it fails to state the date by which it must be executed. The Court

reviews each of these contentions.



                                         (i) Probable Cause

       The January 9 search warrant authorizes the search of an Express Mail package addressed

to Dewayne Benson at 7830 Custer Road in Lakewood, Washington. The package bears the return

address of Francois Pierre at 1733 Rosedale Street, Knoxville, Tennessee. Probable cause for the


                                                  23


   Case 3:13-cr-00012-RLJ-JEM             Document 124        Filed 07/16/13       Page 23 of 34
                                           PageID #: 462
search of the suspect package consists of certain characteristics of the package that make it distinct

from a legitimate business mailing;6 the history of the investigation of Express Mail packages from

San Francisco, California, and Spanaway, Washington, to Knoxville, Tennessee;7 the evidence

seized in the two prior searches of packages related to this investigation,8 and the actions of

codefendant Lamar Johnson with regard to packages suspected in the investigation.9 The Defendant


       6
        The individual on the return address does not receive mail at that address. [Doc. 91,
Exh. 3, ¶¶5, 24 ] The address is handwritten and the sender paid in cash to mail the package.
[Doc. 91, Exh. 3, p.3 & ¶¶5, 24-25] The return address on the package is same address at which
Lamar Johnson had received another Express Mail package associated with this investigation.
[Doc. 91, Exh. 3, ¶24]
       7
        The history of the investigation is summarized above with regard to the December 6
search warrant. This information is also provided in Inspector Boles’ affidavit supporting the
January 9 search warrant. [Doc. 91, Exh. 3, ¶¶4-22] The January 9 affidavit also contains an
attached list of 118 Express Mail packages believed to be associated with this investigation.
[Doc. 91, Exh. 2, pp.15-20]
       8
         The November 23, 2012 search of an Express Mail package addressed to Joseph
Williams at 20815 18th Avenue in Spanaway, Washington, revealed $7810 hidden inside a Lite
Brite toy. [Doc. 91, Exh. 3, ¶¶19-20] The December 6, 2012 search of an Express Mail package
addressed to 1804 Iroquois Street, in Knoxville, Tennessee, revealed 9.8 pounds of marijuana.
[Doc. 91, Exh. 3, ¶22] The affidavit states that the Defendant texted the postal carrier to inquire
about this package on December 8, 2012, stating that it was “lost in transit somehow.” [Doc. 91,
Exh. 3, ¶22]
       9
         The affidavit relates that Lamar Johnson is known to law enforcement from prior
narcotics investigations. [Doc. 91, Exh. 3, ¶10] Johnson lives at 1613 Wilder Place Avenue,
Knoxville, Tennessee. [Doc. 91, Exh. 3, ¶11] On August 2, 2012, a postal carrier reported that a
black male in his mid-twenties with dreadlocks retrieved a parcel, which a resident of 1613
Wilder Place, had declined. [Doc. 91, Exh. 3, ¶11] The black male stated that his grandmother
did not know the package was coming to their address and offered the carrier $100 “for his
trouble.” [Doc. 91, Exh. 3, ¶11] During surveillance at several Knoxville addresses of the
delivery of packages suspected in the investigation, officers observed Johnson at the residence or
arriving after the delivery. [Doc. 91, Exh. 3, ¶15] On November 20, 2012, officers observed
Johnson sign the name “Tim Reese” for a package from Spanaway, Washington, delivered to
1733 Rosedale Street in Knoxville. [Doc. 91, Exh. 3, ¶24] While conducting surveillance of
the delivery of two Express Mail packages on January 3, 2013, to addresses previously receiving
packages in this investigation, Inspector Boles observed Johnson driving evasively and making

                                                 24


   Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13      Page 24 of 34
                                          PageID #: 463
argues that neither the Custer address nor the alias Dwayne Benson are linked to him and that Lamar

Johnson’s evasive driving with mail in the car cannot provide probable cause to suspect that a

different package contains controlled substances.

       The Defendant’s first argument appears to be that Inspector Boles’ affidavit fails to link the

suspect package to him. The Court finds this to be a nonstarter with regard to whether the affidavit

provides probable cause to search the package. The issuance of a search warrant does not turn upon

whether the person with an expectation of privacy in the location to be searched10 is charged with

a crime or is the target of an investigation. Instead, a search warrant may issue upon the judge

finding probable cause to believe that the location to be searched contains contraband or the evidence

of a crime. Besase, 521 F.2d at 1307.

               There is no constitutional requirement that the warrant name the
               person who owns or occupies the described premises. The specificity
               required by the Fourth Amendment is not as to the person against
               whom the evidence is to be used, but rather as to the place to be
               searched and the thing to be seized.



unnecessary turns in a manner often used by drug dealers to observe law enforcement. [Doc. 91,
Exh. 3, ¶23] On January 8, 2013, Inspector Boles reviewed a video surveillance tape showing a
black male with dreadlocks, whom she identified as Johnson, mailing the instant suspect
package. [Doc. 91, Exh. 3, ¶24-25]
       10
          The Defendant’s argument raises the question of whether the Defendant has standing to
challenge the search of the Express Mail package to Dewayne Benson. Arguably, the Defendant
has no legitimate expectation of privacy in a package not mailed to or from him. See United
States v. Talley, 275 F.3d 560, 563 (6th Cir. 2001) (holding that “a defendant claiming that a
search violated his Fourth Amendment rights has the burden of demonstrating that he had a
legitimate expectation of privacy in the place that was searched”). Nevertheless, the Court finds
that Inspector Boles’ affidavit links the Defendant to drug trafficking between Spanaway,
Washington, and Knoxville, Tennessee. The affidavit also states that false recipients and/or
addresses were used on the packages in the investigation. In the interest of justice, the Court will
permit the Defendant to challenge the evidence seized in the three searches of packages related to
this investigation.

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   Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13      Page 25 of 34
                                          PageID #: 464
Id. (citations omitted); see also Zurcher v. The Stanford Daily, 436 U.S. 547, 557 (1978). Thus, the

Court will examine whether probable cause existed to issue a search warrant for the Express Mail

package in question.

       The Defendant also argues that Lamar Johnson’s actions in driving evasively with mail in

the car do not provide probable cause, because the two packages involved in the evasive driving were

not confirmed to contain drugs. Accordingly, he contends that the information about evasive driving

does not provide probable cause to search a subsequent Express Mail package mailed by Lamar

Johnson. The affidavit states that Inspector Boles suspected two Express Mail packages, being sent

from Washington to Knoxville, were linked to this investigation. [Doc. 91, Exh. 3, ¶23] The

packages were addressed to 1605 Tecumseh Drive and 2458 Brooks Drive, both of which had

previously received suspected drug packages. [Doc. 91, Exh. 3, ¶23] Inspector Boles observed the

delivery of the Tecumseh Drive package and then saw Johnson arrive at that address and pick up the

package. [Doc. 91, Exh. 3, ¶23] Officers followed Johnson and saw him make “heat runs,” which

is driving evasively and making unnecessary turns in order to learn whether one is being followed

by police. [Doc. 91, Exh. 3, ¶23] Officers lost sight of Johnson, but other officers subsequently saw

him arrive at 2458 Brooks Avenue, the address to which the other package was delivered. [Doc. 91,

Exh. 3, ¶23]

       The Court finds that Johnson’s evasive driving when leaving with a package linked to the

drug trafficking investigation provides support to a probable cause finding.11 Moreover, this is not



       11
           In his supplemental brief, the Defendant argues that Inspector Boles admitted at the May
30 hearing that she had no prior knowledge of Lamar Johnson’s driving habits. The Court finds
that this testimony was not before the issuing judge and cannot be considered in the Court’s
assessment of probable cause.

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   Case 3:13-cr-00012-RLJ-JEM            Document 124        Filed 07/16/13      Page 26 of 34
                                          PageID #: 465
the only information that the issuing judge had. The information on Lamar Johnson’s actions with

regard to the Tecumseh Drive and Brooks Avenue packages must be viewed along with his other

actions stated in the affidavit, the characteristics of the instant Express Mail package, and the history

of the investigation, including the evidence gained in prior searches. The Court finds that the totality

of the circumstances stated in Inspector Boles’ affidavit provides probable cause to search the instant

Express Mail package.



                                          (ii) Facial Defect

        The Defendant also argues that the evidence seized from the search of the Express Mail

package to Dewayne Benson must be suppressed because the January 9 search warrant fails to state

the date by which the search warrant must be executed. The January 9 search warrant states “YOU

ARE COMMANDED to execute this warrant on or before,” which language is followed by a blank

that was not filled. [Doc. 91, Exh. 3, p.2] Underneath the blank, the words “not to exceed 14 days”

appear in parentheses. [Doc. 91, Exh. 3, p.2] The sentence concludes with two options, that the

search occur in the daytime or occur anytime day or night, neither of which is checked. [Doc. 91,

Exh. 3, p.2] The Defendant argues that the issuing judge’s failure to provide this information makes

the search warrant invalid. The Government argues that the search warrant states that it must be

executed within fourteen days in compliance with Federal Rule of Criminal Procedure 41. It also

contends that the Defendant suffered no prejudice from this ministerial error because the package

was searched the same day that the search warrant was issued.

        Rule 41 requires that a search warrant “must command the officer to . . . execute the warrant

within a specified time no longer than 14 days [and] execute the warrant during the daytime, unless


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   Case 3:13-cr-00012-RLJ-JEM             Document 124          Filed 07/16/13      Page 27 of 34
                                           PageID #: 466
the judge for good cause expressly authorizes execution at another time[.]” Fed. R. Crim. P.

41(e)(2)(A)(i)-(ii). “‘[V]iolations of Rule 41 alone should not lead to exclusion [of evidence] unless

(1) there was “prejudice” in the sense that the search might not have occurred or would not have

been so abrasive if the Rule had been followed, or (2) there is evidence of intentional and deliberate

disregard of a provision in the Rule.’” United States v. Searp, 586 F.2d 1117, 1125 (6th Cir. 1978)

(quoting United States v. Burke, 517 F.2d 377, 386-87 (2d Cir.1975)), cert. denied, 440 U.S. 921

(1979); see also Frisby v. United States, 79 F.3d 29, 32 (6th Cir. 1996) (holding that “ministerial”

violations of Rule 41, such as the failure to leave a copy of the warrant and a receipt for the property

seized, do not require application of the exclusionary rule unless the defendant can show prejudice

resulting from the violation).

       In the instant case, the Court discerns no prejudice to the Defendant from the warrant’s lack

of a time frame for execution. The search warrant reflects that it was issued at 3:08 p.m., on January

9, 2013. Inspector Boles testified that it was executed that same day. The Court finds that the

January 9 search warrant was executed well within the fourteen days required by the rule and, in fact,

on the same day that it was issued. Moreover, there is no evidence that the issuing magistrate judge

deliberately disregarded Rule 41’s requirements regarding the timing of the execution of the search

warrant. The Court finds that the failure to comply with Rule 41(e)(2)(A)(i)-(ii) does not require the

exclusion of the evidence seized from the package.



(4) Good Faith Exception

       Finally, the Government argues that if the Court finds that the search warrants are invalid




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   Case 3:13-cr-00012-RLJ-JEM             Document 124         Filed 07/16/13       Page 28 of 34
                                           PageID #: 467
because their issuance was not supported by probable cause,12 the evidence seized in the search of

the packages should not be excluded because the executing officers acted in good faith reliance on

the search warrants. “The general remedy for a Fourth Amendment violation is that evidence

obtained due to the unconstitutional search or seizure is inadmissible.” United States v. Dice, 200

F.3d 978, 983 (6th Cir. 2000); see also Mapp v. Ohio, 367 U.S. 643, 654 (1961) (holding that “all

evidence obtained by an unconstitutional search and seizure [is] inadmissible in federal court”);

Weeks v. United States, 232 U.S. 383, 398-99 (1914) (establishing the exclusionary rule as the

remedy for violations of the Fourth Amendment). However, the exclusion of evidence is “a

judicially created rule . . . ‘designed to safeguard Fourth Amendment rights generally through its

deterrent effect.’” United States v. Herring, 129 S. Ct. 695, 699 (2009) (quoting United States v.

Calandra, 414 U.S. 338, 348 (1974)). The exclusionary rule applies only where “its remedial

objectives are thought most efficaciously served,” Arizona v. Evans, 514 U.S. 1, 11 (1995), and

where it “‘results in appreciable deterrence.’” Herring, 129 S. Ct. at 700 (quoting United States v.

Leon, 468 U.S. 897, 909 (1984)). In the instant case, the Court has found no basis to suppress the

evidence seized pursuant to the three search warrants. Thus, the Court finds no need to employ

either the exclusionary rule or the good faith exception in this case.



                         B. Defendant’s February 11, 2013 Statement

       The Defendant also seeks to suppress a statement he gave to law enforcement following his

arrest on February 11, 2013. The Defendant argues that the officers violated his right to counsel


       12
         The Government acknowledges that the good faith exception does not save a search
warrant that is defective on its face. See United States v. Lazar, 604 F.3d 230, 237-38 (6th Cir.
2010).

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   Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13    Page 29 of 34
                                          PageID #: 468
under both the Fifth and Sixth Amendments by continuing to question him after he asked for

counsel. He contends that he requested counsel and counsel arrived while Investigator Maupin and

Inspector Boles were interviewing him. He asserts that based upon his request for counsel, the

officers should have never interviewed him in the first place. Thus, he argues that his statement must

be suppressed. The Government responds that the Defendant voluntarily gave his statement

following a lawful arrest.

       The Fifth Amendment protects against a defendant being “compelled in any criminal case

to be a witness against himself.” In light of this protection, the Supreme Court has held that law

enforcement cannot interrogate a suspect who is in custody until they advise the suspect of his or her

rights under the Fifth Amendment. Miranda v. Arizona, 384 U.S. 436,478-79 (1966); see also

United States v. Salvo, 133 F.3d 943, 948 (6th Cir. 1998). The Fifth Amendment’s protection

against self-incrimination “includes a right to counsel during custodial interrogation.” Moore v.

Berghuis, 700 F.3d 882, 886 (6th Cir. 2012). “If the individual states that he wants an attorney, the

interrogation must cease until an attorney is present.” Miranda, 384 U.S. at 474. Once the defendant

requests counsel, law enforcement may not continue to question him or her or subsequently approach

the individual for questioning until the individual has counsel available. Edwards v. Arizona, 451

U.S. 477, 484-85 (1981); United States v. Soto, 953 F.2d 263, 264 (6th Cir. 1992). Questioning of

the person may not resume in the absence of an attorney “unless the accused himself initiates further

communication, exchanges, or conversations with the police.” Edwards, 451 U.S. at 484-85;

McKinney v. Ludwick, 649 F.3d 484, 489 (6th Cir. 2011) (holding that after the accused requests

an attorney, “the government cannot demonstrate a valid waiver of this right absent the necessary

fact that the accused, not the police, reopened the dialogue with the authorities”).


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   Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13      Page 30 of 34
                                          PageID #: 469
        The Sixth Amendment guarantees the assistance of counsel to criminal defendants. “This

right is triggered ‘at or after the time that judicial proceedings have been initiated . . . whether by way

of formal charge, preliminary hearing, indictment, information, or arraignment.’” Alexander v.

Smith, 311 F. App’x 875, 887 (6th Cir. 2009) (quoting Fellers v. U.S., 540 U.S. 519, 523 (2004)).

“Once the Sixth Amendment has attached, the government may not ‘deliberately elicit’ incriminating

statements from the defendant without the presence of his attorney.” Id. (quoting United States v.

Henry, 447 U.S. 264, 270 (1980)). “[T]he Sixth Amendment right to counsel may be waived by a

defendant, so long as relinquishment of the right is voluntary, knowing, and intelligent.” Montejo

v. Louisiana, 556 U.S. 778, 786 (2009). The Sixth Amendment right to counsel may be waived even

before the defendant is represented by counsel. Id.

        Even though the Miranda rights arise under the Fifth Amendment protection against self-

incrimination, the defendant’s receipt of the advice of rights pursuant to Miranda–which includes

the right to have an attorney present during interrogation–and the defendant’s waiver of the Miranda

rights also serves to waive the Sixth Amendment right to counsel. Id. “‘As a general matter . . . an

accused who is admonished with the warnings prescribed by this Court in Miranda . . . has been

sufficiently apprised of the nature of his Sixth Amendment rights, and of the consequences of

abandoning those rights, so that his waiver on this basis will be considered a knowing and intelligent

one.’” Id. at 786-87 (quoting Patterson v. Illinois, 487 U.S. 285, 296 (1988)). The request for or

appointment of counsel does not presumptively invalidate the defendant’s subsequent waiver of his

Sixth Amendment right to counsel. Id. at 797 (overruling Michigan v. Jackson, 475 U.S. 625

(1986)).

        Moreover, “an arrested person’s confession is inadmissible if given after an unreasonable


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   Case 3:13-cr-00012-RLJ-JEM              Document 124          Filed 07/16/13       Page 31 of 34
                                            PageID #: 470
delay in bringing him before a judge.” Corley v. United States, 556 U.S. 303, 307 (2009) (stating

the McNabb-Mallory rule). Congress has provided a “safe harbor” for confessions made within six

hours of a defendant’s arrest:

               [A] confession made or given by a person . . . while such person was
               under arrest or other detention in the custody of any law-enforcement
               officer or law-enforcement agency, shall not be inadmissible solely
               because of delay in bringing such a person before a magistrate judge
               . . . if such confession is found by the trial judge to have been made
               voluntarily and if the weight to be given the confession is left to the
               jury and if such confession was made or given by such person within
               six hours immediately following his arrest or other detention.

18 U.S.C. § 3501(c); United States v. McDowell, 687 F.3d 904, 908 (7th Cir. 2012) (holding that

a “confession given within six hours of arrest is admissible notwithstanding a delay in presentment

if the judge finds it was voluntary”).

            In the instant case, the Defendant was indicted prior to his arrest and, thus, his Sixth

Amendment right to counsel had attached at the time he gave his statement. Nevertheless, the Court

finds that the Defendant’s statement was voluntary, given at his own request, and made well within

the six-hour safe harbor. First, the Court finds that the Defendant was twice advised of his Miranda

rights, including his right to counsel, prior to making his statement. The record is devoid of any

evidence of police coercion. See Colorado v. Connelly, 479 U.S. 157, 167 (1986) (observing that

“coercive police activity is a necessary predicate to the finding that a confession is not ‘voluntary’

within the meaning of the Due Process Clause of the Fourteenth Amendment”); McCall v. Dutton,

863 F.2d 454, 459 (6th Cir. 1988) (holding that “[i]f the police misconduct at issue was not the

‘crucial motivating factor’ behind petitioner’s decision to confess, the confession may not be

suppressed”). The officers did not yell at the Defendant or otherwise attempt to intimidate him, the



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   Case 3:13-cr-00012-RLJ-JEM            Document 124         Filed 07/16/13      Page 32 of 34
                                          PageID #: 471
questioning was not lengthy, and the Defendant had prior exposure to the criminal justice system.

Moreover, the Court finds that the Defendant did not request counsel at any time before making a

statement. Additionally, the Defendant himself asked to “talk” with Investigator Maupin. The Court

finds no evidence that Investigator Maupin and Inspector Boles deliberately elicited a statement from

the Defendant. Finally, the Court finds that the Defendant’s statement was made shortly after his

arrest and was not the product of a delay in bringing the Defendant before a magistrate judge. The

Court finds no basis to suppress the Defendant’s February 11, 2013 statement.




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   Case 3:13-cr-00012-RLJ-JEM            Document 124        Filed 07/16/13      Page 33 of 34
                                          PageID #: 472
                                       V. CONCLUSION

               After carefully considering the motion, memoranda, oral arguments, exhibits, and

relevant legal authorities, the Court finds no basis to suppress the evidence gained in the searches

of the three Express Mail packages or to suppress the Defendant’s February 11, 2013 statement. For

the reasons set forth herein, it is RECOMMENDED that the Defendant’s Motion to Suppress

Statement [Doc. 70] and his Motion to Suppress Evidence [Doc. 72] be DENIED.13

                                                     Respectfully submitted,


                                                          s/ H. Bruce Guyton
                                                     United States Magistrate Judge




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          Any objections to this report and recommendation must be served and filed within
fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
Fed. R. Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified
waives the right to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v.
Branch, 537 F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985)
(providing that failure to file objections in compliance with the required time period waives the
right to appeal the District Court’s order). The District Court need not provide de novo review
where objections to this report and recommendation are frivolous, conclusive, or general. Mira
v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for
appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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   Case 3:13-cr-00012-RLJ-JEM           Document 124         Filed 07/16/13     Page 34 of 34
                                         PageID #: 473
